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                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF TENNESSEE
                          EASTERN DIVISION

UNITED STATES OF AMERICA,          *

                  Plaintiff,       *

v.                                 *        CR. NO.: 17-10004-STA

JOAQUAIN BOWEN,                    *

               Defendant.      *
________________________________________________________________

             ORDER CONTINUING SENTENCING HEARING AND
                       NOTICE OF RESETTING
________________________________________________________________

     IT APPEARING TO THIS COURT THAT upon the filed motion of

Defendant, Joaquain Bowen, for the entry of an Order continuing

his sentencing hearing for a period of approximately 30 days,

there being no opposition filed by the United States of America,

and after considering the entire record in this case, it appears

that this motion is well-taken and is, therefore, GRANTED.

     IT IS HEREBY ORDERED that the SENTENCING HEARING in this case

be continued until the 29th day of January, 2018.

     IT IS SO ORDERED, this the 8th day of December, 2017.


                               s/S. Thomas Anderson
                               S. THOMAS ANDERSON
                               CHIEF UNITED STATES DISTRICT JUDGE
